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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


                                                      ECF Case
  UBER TECHNOLOGIES, INC.,
                                                        INDEX NO.: 20-CV-4842

                                        Plaintiff,



                     - against -



  ARTHUR BLOSSOMGAME,

                                      Defendant.


    DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
                  MOTION TO COMPEL ARBITRATION


 Dated: Garden City, NY
        October 23, 2020
        BELL LAW GROUP, PLLC


                                          By: __________/s/__________________
                                                 Laura R. Reznick, Esq.
                                                 100 Quentin Roosevelt Boulevard
                                                 Suite 208
                                                 Garden City, NY 11530
                                                 Tel: 516.280.3008
                                                 Fax: 212.656.1845
                                                 lr@belllg.com
                                                 Attorneys for Defendants
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                                   PRELIMINARY STATEMENT

         Defendant Arthur Blossomgame submits this memorandum of law in opposition to

 Plaintiff’s Order to Show Cause seeking to compel him to arbitrate his claims currently pending

 before the New York State Division of Human Rights.

         Arbitration should not be compelled for several reasons. Most importantly, contrary to

 Plaintiff’s representations, Mr. Blossomgame expressly opted out of arbitration in 2015, and

 stated in his opt-out letter that “if there are any further notices I will decline arbitration with Uber.”

 Additionally, even if this Court finds Mr. Blossomgame’s opt-out request insufficient to

 demonstrate that there was no agreement to arbitrate, Plaintiff’s evidence is insufficient to

 demonstrate the existence of an agreement to arbitrate. Additionally, even if there were an

 agreement to arbitrate, such agreement would not compel dismissal of Defendant’s NYSDHR

 proceeding, as it is well established that arbitration agreements do not bind administrative agencies

 such as the Division of Human Rights.

         For these reasons, Plaintiff’s OTSC should be denied and this action should be dismissed.

                                                 FACTS

         According to Plaintiff, Defendant agreed to arbitration when he accepted the Uber USA,

 LLC Technology Services Agreement (“Uber USA TSA”) on December 11, 2015. As Plaintiff

 concedes, this Agreement provided drivers such as Defendant with the opportunity to opt out of

 arbitration. Contrary to Plaintiff’s contentions, Defendant did just that.

         By letter dated December 15, 2015, Defendant notified Uber that he was “not interested in

 arbitration.” See Exhibit A, Declaration of Arthur Blossomgame, ¶¶ 3-4. Defendant’s letter further

 stated that “If there are any future notices I will decline arbitration with Uber.” This clearly

 demonstrates Defendant’s lack of agreement to arbitrate and put Plaintiff on notice that Defendant
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 was not agreeing to arbitrate in the future even if he was required to accept the same or a similar

 agreement in order to keep using the platform.

                                       LEGAL STANDARD

        A motion to compel arbitration requires the court to address two issues: “(1) whether the

 parties have entered into a valid agreement to arbitrate, and (2) if so, whether the dispute at issue

 falls within the scope of the parties’ agreement to arbitrate.” Arkin v DoorDash, Inc., 2020 US

 Dist LEXIS 152799, at *6-7 (E.D.N.Y. Aug. 24, 2020, No. 19-CV-4357 (NGG) (RER)) (citing In

 re Am. Express Fin. Advisors Sec. Litig., 672 F.3d 113, 128 (2d Cir. 2011)); see also Granite Rock

 Co. v. Int'l Brotherhood of Teamsters, 561 U.S. 287, 299 (2010) (“[C]ourts should order arbitration

 of a dispute only where the court is satisfied that neither the formation of the parties’ arbitration

 agreement nor (absent a valid provision specifically committing such disputes to an arbitrator) its

 enforceability or applicability to the dispute is in issue.” (emphasis in original)). Here, the first

 prong of the test cannot be satisfied because the existence of a valid agreement to arbitrate is at

 issue due to Mr. Blossomgame’s letter opting out of arbitration.

                                           ARGUMENT

 I. THERE WAS NO AGREEMENT TO ARBITRATE

    A. Defendant Opted Out of Arbitration

        It is clear from Defendant’s December 15, 2015 letter, attached as Exhibit 1 to the

 Blossomgame Declaration, that Defendant did not agree to arbitrate any disputes with Uber.

 Defendant sent his letter on or about December 15, 2015, well within 30 days after December 10,

 2015, the date Uber claims he received the Agreement. Defendant followed the procedure laid out

 by Uber for opting out to a tee, sending it to the address specified by Uber within the timeframe

 provided by Uber. Thus, there is no basis whatsoever for this Court to conclude that a valid

 agreement to arbitrate existed.


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        To the extent Plaintiff contends that Defendant nevertheless agreed to arbitrate when he

 allegedly re-accepted the Agreement in 2017, this argument is without merit. Defendant’s

 December 15, 2015 letter made it clear that Defendant intended his opt out to continue to apply

 even if he was sent future “notices” from Uber regarding arbitration. Moreover, nothing in the

 2015 Agreement (Dkt. No. 7-3 Ex. A) or the 2017 Agreement (Dkt. No. 7-3 Ex. B) provided

 Defendant with notice that his previous letter opting out would be invalidated if he did not send

 another opt out notice.

        Thus, the first requirement to compel arbitration cannot be met, because Defendant sent a

 valid opt-out notice within the timeframe prescribed by Uber using the procedures prescribed by

 Uber. Because the first requirement to compel arbitration has clearly not been met, it is

 unnecessary to determine whether the claims at issue fall within the scope of Plaintiff’s form

 arbitration agreement, since the provision was not agreed to in the first place.


    B. Uber Has Not Established That Blossomgame Ever Accepted the 2017 Agreement

        In response to requests from Defendant’s counsel, Plaintiff sent a spreadsheet of documents

 that Plaintiff claims shows the date Defendant accepted each document. A printout of said

 spreadsheet is attached to the Rosenthal Declaration, Dkt. No. 7-3 Ex. C. However, the printout of

 the spreadsheet shows only a user with an anonymous ID, which they have not established belongs

 to Mr. Blossomgame, and a list of dates and documents. It does not actually prove that any of the

 documents at issue were accepted by Mr. Blossomgame. In his declaration, Mr. Rosenthal

 references actual receipts that could demonstrate Mr. Blossomgame’s acceptance of the

 Agreements, but no such receipts are provided, only an after-the-fact spreadsheet that does not

 even contain a timestamp showing when Mr. Blossomgame purportedly accepted each document.

 This is insufficient to establish that Mr. Blossomgame electronically signed the Agreements at



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 issue. However, even if the Court finds Plaintiff’s evidence of electronic signature sufficient,

 which it should not, there is still no valid agreement to arbitrate because Defendant validly opted

 out of arbitration in December 2015.


 II. The Arbitration Provision Does Not Bar Defendant’s New York State Division of
     Human Rights Action

         Contrary to Plaintiff’s contention, the New York State Division of Human Rights, a state

 administrative agency, cannot be compelled to dismiss Defendant’s case based on an arbitration

 agreement to which it was not a party. See, e.g., EEOC v Waffle House, Inc., 534 US 279 (2002);

 Hong Wang v Precision Extrusion, Inc., 2018 US Dist LEXIS 106084 (NDNY June 26, 2018, No.

 1:18-CV-350 (FJS/DJS) (noting that the NYSDHR, like the EEOC and Connecticut Human Rights

 Division, are not bound by arbitration agreements). Thus, Plaintiff’s motion to compel arbitration

 should also be denied on this ground.



                                          CONCLUSION

         For all of the foregoing reasons, Plaintiff’s Motion to compel arbitration should be denied

 in its entirety.


 Dated: Garden City, New York
        October 23, 2020

                                                              Respectfully submitted,



                                                                     /s/

                                                              Laura R. Reznick, Esq.
                                                              BELL LAW GROUP PLLC.
                                                              Attorneys for Defendants
                                                              100 Quentin Roosevelt Blvd.
                                                              Suite 208


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                                                Garden City, NY 11530
                                                Tel: 516-280-3008
                                                lr@belllg.com




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